Case:17-07507-EAG7 Doc#:178 Filed:03/04/20 Entered:03/04/20 16:10:57                      Desc: Main
                          Document Page 1 of 15

                                  UNITED STATES BANKRUPTCY COURT
                                      DISTRICT OF PUERTO RICO
                                           PONCE DIVISION

   In re:                                         §    Case No. 2:17-BK-07507
                                                  §
   Victoria Santiago Gonzalez                     §
                                                  §
                                                  §
                       Debtor(s)                  §

            CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION REPORT
            CERTIFICATION THAT THE ESTATE HAS BEEN FULLY ADMINISTERED
                       AND APPLICATION TO BE DISCHARGED (TDR)

           Noreen Wiscovitch-Rentas, chapter 7 trustee, submits this Final Account, Certification
   that the Estate has been Fully Administered and Application to be Discharged.

        1)       All funds on hand have been distributed in accordance with the Trustee’s Final
 Report and, if applicable, any order of the Court modifying the Final Report. The case is fully
 administered and all assets and funds which have come under the trustee’s control in this case
 have been properly accounted for as provided by law. The trustee hereby requests to be
 discharged from further duties as a trustee.

        2)      A summary of assets abandoned, assets exempt, total distributions to claimants,
 claims discharged without payment, and expenses of administration is provided below:



  Assets Abandoned:             $96,987.75            Assets Exempt:        $245,443.75
  (without deducting any secured claims)



  Total Distributions to                              Claims Discharged
  Claimants:                       $189,534.67        Without Payment:      $0.00

  Total Expenses of
  Administration:                  $89,867.35


        3)      Total gross receipts of $555,000.00 (see Exhibit 1), minus funds paid to the
 debtor(s) and third parties of $275,597.98 (see Exhibit 2), yielded net receipts of $279,402.02
 from the liquidation of the property of the estate, which was distributed as follows:




 UST Form 101-7-TDR (10/1/2010)
Case:17-07507-EAG7 Doc#:178 Filed:03/04/20 Entered:03/04/20 16:10:57                          Desc: Main
                          Document Page 2 of 15



                                    CLAIMS         CLAIMS              CLAIMS              CLAIMS
                                  SCHEDULED       ASSERTED            ALLOWED               PAID
   Secured Claims
   (from Exhibit 3)                    $0.00         $22,938.47          $22,938.47         $22,938.47
   Priority Claims:
       Chapter 7
       Admin. Fees and                   NA          $89,867.35          $89,867.35         $89,867.35
       Charges
        (from Exhibit 4)
       Prior Chapter
       Admin. Fees and                   NA                $0.00               $0.00              $0.00
       Charges (from
       Exhibit 5)
       Priority
       Unsecured                       $0.00               $0.00               $0.00              $0.00
       Claims
       (From Exhibit 6)
   General Unsecured
   Claims (from                        $0.00        $245,301.72         $161,065.57        $166,596.20
   Exhibit 7)
            Total
      Disbursements                    $0.00        $358,107.54         $273,871.39        $279,402.02

         4). This case was originally filed under chapter 7 on 12/28/2017. The case was pending
   for 26 months.

        5). All estate bank statements, deposit slips, and canceled checks have been submitted to
   the United States Trustee.

         6). An individual estate property record and report showing the final accounting of the
   assets of the estate is attached as Exhibit 8. The cash receipts and disbursements records for
   each estate bank account, showing the final accounting of the receipts and disbursements of
   estate funds is attached as Exhibit 9.

        Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the
   foregoing report is true and correct.

          Dated: 02/07/2020                            By: /s/ Noreen Wiscovitch-Rentas
                                                       /No Trustee
                                                       ree
                                                       n
                                                       Wis
                                                       cov
                                                       itch
   STATEMENT: This Uniform Form is associated with an open
                                                       - bankruptcy case, therefore, Paperwork Reduction
   Act exemption 5 C.F.R. § 1320.4(a)(2) applies.
                                                       Ren
                                                       tas
 UST Form 101-7-TDR (10/1/2010)
Case:17-07507-EAG7 Doc#:178 Filed:03/04/20 Entered:03/04/20 16:10:57                                       Desc: Main
                          Document Page 3 of 15

                                                  EXHIBITS TO
                                                 FINAL ACCOUNT

  EXHIBIT 1 – GROSS RECEIPTS

                         DESCRIPTION                                        UNIFORM                         AMOUNT
                                                                           TRAN. CODE                      RECEIVED
 Bo. Lomas Carr 149Juana Diaz Pr 00795                                        1110-000                     $555,000.00
 TOTAL GROSS RECEIPTS                                                                                      $555,000.00

  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.

  EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                PAYEE                                 DESCRIPTION                        UNIFOR             AMOUNT
                                                                                            M                  PAID
                                                                                          TRAN.
                                                                                          CODE
 VICTORIA SANTIAGO                       Surplus Funds                                    8200-002          $96,257.79
 GONZALEZ
 CLERK, U.S. BANKRUPTCY                  Funds to Third Parties                           8500-002         $179,340.19
 COURT
 TOTAL FUNDS PAID TO                                                                                        $275,597.9
 DEBTOR AND THIRD PARTIES                                                                                            8


  EXHIBIT 3 – SECURED CLAIMS

   CLAIM         CLAIMANT           UNIFORM               CLAIMS                 CLAIMS   CLAIMS             CLAIMS
  NUMBER                           TRAN. CODE          SCHEDULED               ASSERTED ALLOWED                PAID
      5a       CRIM                   4700-000                    $0.00          $12,216.25   $12,216.25    $12,216.25
               CRIM                   4700-000                    $0.00          $10,722.22   $10,722.22    $10,722.22
 TOTAL SECURED CLAIMS                                             $0.00          $22,938.47   $22,938.47    $22,938.47


  EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES

        PAYEE               UNIFORM               CLAIMS               CLAIMS              CLAIMS            CLAIMS
                           TRAN. CODE          SCHEDULED             ASSERTED            ALLOWED               PAID
 Noreen Wiscovitch-           2100-000                     NA             $17,220.10      $17,220.10        $17,220.10
 Rentas, Trustee
 NOREEN                       2200-000                     NA               $298.40           $298.40         $298.40
 WISCOVITCH-
 RENTAS, Trustee
 CLERK OF THE                 2700-000                     NA               $350.00           $350.00         $350.00
 COURT
 SECRETARIO DE                2820-000                     NA             $36,709.00      $36,709.00        $36,709.00
 HACIENDA
 NOEMI LANDRAU-               3210-000                     NA             $14,035.00      $14,035.00        $14,035.00
 RIVERA, Attorney
 for Trustee
 NOEMI LANDRAU-               3210-000                     NA              $5,550.00       $5,550.00         $5,550.00

 UST Form 101-7-TDR (10/1/2010)
Case:17-07507-EAG7 Doc#:178 Filed:03/04/20 Entered:03/04/20 16:10:57                           Desc: Main
                          Document Page 4 of 15

 RIVERA Former
 Trustee, Attorney for
 Trustee
 NOEMI LANDRAU-               3220-000            NA             $111.35         $111.35          $111.35
 RIVERA, Attorney
 for Trustee
 Tamarez CPA. LLC,            3410-000            NA            $1,500.00       $1,500.00        $1,500.00
 Accountant for
 Trustee
 TAMAREZ CPA,                 3420-000            NA              $93.50          $93.50           $93.50
 LLC, Accountant for
 Trustee
 MARIO MUNIZ,                 3510-000            NA           $14,000.00      $14,000.00       $14,000.00
 Realtor for Trustee
 TOTAL CHAPTER 7 ADMIN. FEES AND                  NA           $89,867.35      $89,867.35       $89,867.35
 CHARGES


  EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES
  NONE


  EXHIBIT 6 – PRIORITY UNSECURED CLAIMS
  NONE


  EXHIBIT 7 – GENERAL UNSECURED CLAIMS

   CLAIM         CLAIMANT           UNIFORM        CLAIMS          CLAIMS         CLAIMS         CLAIMS
  NUMBER                           TRAN. CODE   SCHEDULED        ASSERTED       ALLOWED            PAID
      1        IVELISSE TORO         7100-000          $0.00      $30,000.00      $30,000.00    $30,000.00
               ZAMBRANA
      2        Banco Popular de      7100-000          $0.00      $63,677.52           $0.00         $0.00
               Puerto Rico
               Special Loans
      3        Banco Popular de      7100-000          $0.00      $20,558.63           $0.00         $0.00
               Puerto Rico
               Special Loans
      4        SCOTIABANK            7100-000          $0.00     $105,247.53     $105,247.53   $105,247.53
               DE PUERTO
               RICO
      5b       CRIM                  7100-000          $0.00       $8,670.68       $8,670.68     $8,670.68
      6        Edgardo R.            7200-000          $0.00      $17,147.36      $17,147.36    $17,147.36
               Vargas Santiago
               CRIM                  7990-000          $0.00           $0.00           $0.00      $377.59
               CRIM                  7990-000          $0.00           $0.00           $0.00      $268.00
               CRIM                  7990-000          $0.00           $0.00           $0.00      $174.75
               Edgardo R.            7990-000          $0.00           $0.00           $0.00      $530.00
               Vargas Santiago
               IVELISSE TORO         7990-000          $0.00           $0.00           $0.00      $927.25
               ZAMBRANA
               SCOTIABANK            7990-000          $0.00           $0.00           $0.00     $3,253.04
 UST Form 101-7-TDR (10/1/2010)
Case:17-07507-EAG7 Doc#:178 Filed:03/04/20 Entered:03/04/20 16:10:57           Desc: Main
                          Document Page 5 of 15

               DE PUERTO
               RICO
 TOTAL GENERAL UNSECURED CLAIMS            $0.00   $245,301.72   $161,065.57   $166,596.20




 UST Form 101-7-TDR (10/1/2010)
                                       Case:17-07507-EAG7 Doc#:178 Filed:03/04/20
                                                                             FORM 1
                                                                                      Entered:03/04/20 16:10:57                                         Desc: Main
                                                                    Document     Page 6 of 15
                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                               Page No:    1              Exhibit 8
                                                                                        ASSET CASES

Case No.:                      17-07507-EAG                                                                                               Trustee Name:                               Noreen Wiscovitch-Rentas
Case Name:                     Santiago Gonzalez, Victoria                                                                                Date Filed (f) or Converted (c):            12/28/2017 (f)
For the Period Ending:         2/7/2020                                                                                                   §341(a) Meeting Date:                       01/25/2018
                                                                                                                                          Claims Bar Date:                            07/24/2018

                                  1                                   2                         3                                 4                        5                                         6

                        Asset Description                          Petition/             Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                          Unscheduled            (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                       Value                      Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                       Less Liens, Exemptions,
                                                                                          and Other Costs)

Ref. #
    1    Urb. Lago Horizonte C19 Calle 3                             $228,071.75                                 $0.00                                          $0.00                                            FA
         Juana Diaz Pr 00795
Asset Notes:      URB. LAGO HORIZONTE C19 CALLE 3
                  JUANA DIAZ PR 00795
                  LOT AND TWO FLOOR CONCRETE RESIDENTIAL PROPERTY
                  CONSISTING OF FIVE BEDROOMS, FOUR BATHROOMS, LIVINGROOM,
                  DININGROOM, KITCHEN AND CARPORT. DEBTOR WILL HAVE TO
                  INCUR IN ATTORNEY AND REALTOR FEES IN ORDER TO SELL THE
                  PROPERTY IN THE AMOUNT OF $28,356.50. CH7 TRUSTEES FEES ARE
                  ALSO TAKEN INTO CONSIDERATION IN THE AMOUNT OF $25,500.00.
                  THE PROPERTY IS WORTH $510,000.00. 50% OF THE PROPERTY
                  BELONGS TO DEBTOR AND THE OTHER 50% BELONGS TO DEBTOR'S
                  EX-SPOUSE
2        Urb. Paseo De Aguadilla 1 Calle 1                         $96,602.75                            $96,602.75              OA                             $0.00                                            FA
         Aguadilla Pr 00603
Asset Notes:      URB. PASEO DE AGUADILLA 1 CALLE 1
                  AGUADILLA PR 00603
                  LOT AND CONCRETE RESIDENTIAL PROPERTY CONSISTING OF THREE
                  BEDROOMS, TWO BATHROOMS, LIVINGROOM, DININGROOM,
                  KITCHEN AND CARPORT. THE PROPERTY IS WORTH $216,000.00.
                  DEBTOR WILL HAVE TO INCUR IN ATTORNEY AND REALTOR FEES IN
                  ORDER TO SELL THE PROPERTY IN THE AMOUNT OF $11,994.50. CH7
                  TRUSTEES FEES ARE ALSO TAKEN INTO CONSIDERATION IN THE
                  AMOUNT OF $10,800.00. 50% OF THE PROPERTY BELONG TO DEBTOR
                  AND THE OTHER 50% BELONG TO DEBTOR'S EX-SPOUSE.


                 Adversary case 18-00074 filed against EDGARDO R VARGAS SANTIAGO docket 44
3        Bo. Lomas Carr 149                                           $125,223.00                       $125,223.00                                      $555,000.00                                             FA
         Juana Diaz Pr 00795
Asset Notes:      BO. LOMAS CARR 149
                  JUANA DIAZ PR 00795
                  LOT. THE PROPERTY IS WORTH $280,000.00. DEBTOR WILL HAVE TO
                                       Case:17-07507-EAG7 Doc#:178 Filed:03/04/20
                                                                             FORM 1
                                                                                      Entered:03/04/20 16:10:57                                                      Desc: Main
                                                                    Document     Page 7 of 15
                                                         INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                            Page No:    2              Exhibit 8
                                                                                                     ASSET CASES

Case No.:                      17-07507-EAG                                                                                                            Trustee Name:                               Noreen Wiscovitch-Rentas
Case Name:                     Santiago Gonzalez, Victoria                                                                                             Date Filed (f) or Converted (c):            12/28/2017 (f)
For the Period Ending:         2/7/2020                                                                                                                §341(a) Meeting Date:                       01/25/2018
                                                                                                                                                       Claims Bar Date:                            07/24/2018

                                  1                                            2                             3                                 4                        5                                         6

                           Asset Description                                Petition/                 Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                            (Scheduled and                                Unscheduled                (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                       Unscheduled (u) Property)                             Value                          Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                    Less Liens, Exemptions,
                                                                                                       and Other Costs)

                  INCUR IN ATTORNEY AND REALTOR FEES IN ORDER TO SELL THE
                  PROPERTY IN THE AMOUNT OF $15,554.00. CH7 TRUSTEES FEES ARE
                  ALSO TAKEN INTO CONSIDERATION IN THE AMOUNT OF $14,000.00.
                  50% BELONG TO DEBTOR AND THE OTHER 50% BELONG TO
                  DEBTOR'S EX-SPOUSE


                  Trustee has two offers for $350,000.00 for this land. - Noreen Wiscovitch 06/23/2018


                  Adversary case 18-00074 filed against EDGARDO R VARGAS SANTIAGO docket 44
 Ref. #
4       Stove Top                                                                   $75.00                                    $0.00                                          $0.00                                            FA
Asset Notes:      STOVE TOP
5       Refrigerator                                                               $500.00                                    $0.00                                          $0.00                                            FA
Asset Notes:      REFRIGERATOR
6       Microwave Oven                                                              $20.00                                    $0.00                                          $0.00                                            FA
Asset Notes:      MICROWAVE OVEN
7       Oven                                                                        $80.00                                    $0.00                                          $0.00                                            FA
Asset Notes:      OVEN
8       Sofa                                                                        $10.00                                    $0.00                                          $0.00                                            FA
Asset Notes:      SOFA
9       50" Tv                                                                     $175.00                                    $0.00                                          $0.00                                            FA
Asset Notes:      50" TV
10      Washing Machine                                                            $250.00                                    $0.00                                          $0.00                                            FA
Asset Notes:      WASHING MACHINE
11      Dinningroom Table With Six Chairs                                           $75.00                                    $0.00                                          $0.00                                            FA
Asset Notes:      DINNINGROOM TABLE WITH SIX CHAIRS
12      Queen Size Bed                                                              $80.00                                    $0.00                                          $0.00                                            FA
Asset Notes:      QUEEN SIZE BED
13      Six Draws Chest With Mirror                                                 $65.00                                    $0.00                                          $0.00                                            FA
Asset Notes:      SIX DRAWS CHEST WITH MIRROR


                  Not worth pursuing abandon at closing. NWR 10-28-18
                                     Case:17-07507-EAG7 Doc#:178 Filed:03/04/20
                                                                           FORM 1
                                                                                    Entered:03/04/20 16:10:57                                                      Desc: Main
                                                                  Document     Page 8 of 15
                                                       INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                            Page No:    3              Exhibit 8
                                                                                                   ASSET CASES

Case No.:                   17-07507-EAG                                                                                                             Trustee Name:                               Noreen Wiscovitch-Rentas
Case Name:                  Santiago Gonzalez, Victoria                                                                                              Date Filed (f) or Converted (c):            12/28/2017 (f)
For the Period Ending:      2/7/2020                                                                                                                 §341(a) Meeting Date:                       01/25/2018
                                                                                                                                                     Claims Bar Date:                            07/24/2018

                                 1                                            2                            3                                 4                        5                                         6

                        Asset Description                                  Petition/                Estimated Net Value                   Property               Sales/Funds               Asset Fully Administered (FA)/
                         (Scheduled and                                  Unscheduled               (Value Determined by                   Abandoned              Received by              Gross Value of Remaining Assets
                    Unscheduled (u) Property)                               Value                         Trustee,                  OA =§ 554(a) abandon.         the Estate
                                                                                                  Less Liens, Exemptions,
                                                                                                     and Other Costs)

14      Chest                                                                      $70.00                                   $0.00                                          $0.00                                            FA
Asset Notes:     CHEST
15      Queen Size Bed                                                            $100.00                                   $0.00                                          $0.00                                            FA
Asset Notes:     QUEEN SIZE BED
                 Not worth pursuing
16      Six Draw Chest With Mirror                                                 $90.00                                   $0.00                                          $0.00                                            FA
Asset Notes:     SIX DRAW CHEST WITH MIRROR
17      Full Size Bed                                                              $95.00                                   $0.00                                          $0.00                                            FA
Asset Notes:     FULL SIZE BED
18      Six Draw Chest With Mirror                                                 $60.00                                   $0.00                                          $0.00                                            FA
Asset Notes:     SIX DRAW CHEST WITH MIRROR
19      Full Size Bed                                                              $90.00                                   $0.00                                          $0.00                                            FA
Asset Notes:     FULL SIZE BED
20      Six Draw Chest With Mirror                                                 $50.00                                   $0.00                                          $0.00                                            FA
Asset Notes:     SIX DRAW CHEST WITH MIRROR
21      Sofa                                                                       $40.00                                   $0.00                                          $0.00                                            FA
Asset Notes:     SOFA
22      Clothes And Accesories                                                    $800.00                                   $0.00                                          $0.00                                            FA
Asset Notes:     CLOTHES AND ACCESORIES
23      Checking Account With Bppr                                                 $10.00                               $10.00                                             $0.00                                            FA
Asset Notes:     CHECKING ACCOUNT WITH BPPR
                 Amount not worth pursuing. NWR 10-28-18
24      Aee                                                                       $150.00                                   $0.00                                          $0.00                                            FA
Asset Notes:     AEE
25      Aaa                                                                       $100.00                                   $0.00                                          $0.00                                            FA
Asset Notes:     AAA
26      Lot                                                     (u)                 $0.00                           $10,000.00               OA                            $0.00                                            FA
Asset Notes:    lot of land located at Calle Barcelo, Matinezo Cintron y Carrio, Juana Diaz, PR 00975
                Debtor amended schedules B and C to disclose this asset and adjust exemption. docket 14 filed 3/5/18 - ymartinez 5/30/2018
27      Commercial Property                                      (u)                   $0.00                        $250,000.00              OA                            $0.00                                            FA
Asset Notes:     Funeraria San Ramon Inc
                                      Case:17-07507-EAG7 Doc#:178 Filed:03/04/20
                                                                            FORM 1
                                                                                     Entered:03/04/20 16:10:57                                                                Desc: Main
                                                                   Document     Page 9 of 15
                                                        INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT                                                                                      Page No:    4              Exhibit 8
                                                                                                         ASSET CASES

Case No.:                     17-07507-EAG                                                                                                                     Trustee Name:                                Noreen Wiscovitch-Rentas
Case Name:                    Santiago Gonzalez, Victoria                                                                                                      Date Filed (f) or Converted (c):             12/28/2017 (f)
For the Period Ending:        2/7/2020                                                                                                                         §341(a) Meeting Date:                        01/25/2018
                                                                                                                                                               Claims Bar Date:                             07/24/2018

                                  1                                                2                              3                                   4                          5                                         6

                         Asset Description                                     Petition/                  Estimated Net Value                     Property                  Sales/Funds               Asset Fully Administered (FA)/
                          (Scheduled and                                     Unscheduled                 (Value Determined by                     Abandoned                 Received by              Gross Value of Remaining Assets
                     Unscheduled (u) Property)                                  Value                           Trustee,                    OA =§ 554(a) abandon.            the Estate
                                                                                                        Less Liens, Exemptions,
                                                                                                           and Other Costs)

                   43 Luis Felipe dessus, Juana Diaz PR 00795
                   Debtor amended schedules B and C to disclose this asset and adjust exemption. docket 14 filed 3/5/18     - ymartinez 5/30/2018
 Ref. #
28      Toyota Sequoia                                              (u)            $14,772.00                                     $0.00                                               $0.00                                            FA
Asset Notes:       2008 Toyota Sequoia, used by Debtor, but under ex-spouse name
                   Debtor amended schedules B and C to disclose this asset and adjust exemption. docket 31 filed 5/16/18     - ymartinez 5/30/2018
                   The motor vehicle has no value to the Estate. It is in Ex-hubands name. NWR 10-28-18


TOTALS (Excluding unknown value)                                                                                                                                                                          Gross Value of Remaining Assets
                                                                                  $467,654.50                             $481,835.75                                          $555,000.00                                        $0.00




     Major Activities affecting case closing:
      02/07/2020      TDR submitted to UST. NWR 2/7/2020
      10/30/2019      Checks cut. NWR 11/2/19
      07/29/2019      NFR and TFR submitted to the UST. 7/29/2019 nwiscovitch
      04/24/2019      Claims reviewed. Trustee awaiting cashing of the check by former spouse in order to submit TFR. NWR 4/24/19
      04/16/2019      Court approved payment to former spouse. Trustee to complete final review of claims and prepare TFR after cashing of checks. NWR 4-16-19
      03/06/2019      Proposed distribution to co-owner of realty filed under section 726. Also Notice of Abandonment filed in order to TFR. NWR 3-6-19
      12/01/2018      Court approved the sale of the industrial lot in Juana Diaz. Sale was closed on November 30, 2018. Trustee to prepare tax returns for capital gains and distribute half of the net proceeds
                      to the Debtor's former spouse. NWR 12-1-18
      10/28/2018      Trustee in litigation with Debtor's former spouse. Notice of sale of industrial land in Juana Diaz filed. NWR 10/28/18
                      Lawsuit filed against ex-spouse for the division of common property. - Noreen Wiscovitch 7/22/2018
                      Bar date requested. Trustee to attempt to obtain payment on division of Marital property. 341 Meeting has not concluded. - Noreen Wiscovitch 04/25/2018
                      This case may go over 120 days. Trustee investigating Debtor's interest in Funeral Home and other Real Properties. No bar date requested. - Noreen Wiscovitch 4/10/2018
                      [Noreen Wiscovitch 2018-04-10 19:38:25]


 Initial Projected Date Of Final Report (TFR):           12/31/2019                             Current Projected Date Of Final Report (TFR):             12/31/2019                 /s/ NOREEN WISCOVITCH-RENTAS
                                                                                                                                                                                     NOREEN WISCOVITCH-RENTAS
                                      Case:17-07507-EAG7 Doc#:178 Filed:03/04/20
                                                                         FORM 2 Entered:03/04/20 16:10:57                                      Desc: Main
                                                                                                                                                     Page No: 1                   Exhibit 9
                                                                Document Page 10 of 15
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         17-07507-EAG                                                                             Trustee Name:                      Noreen Wiscovitch-Rentas
 Case Name:                       Santiago Gonzalez, Victoria                                                              Bank Name:                         Veritex Community Bank
Primary Taxpayer ID #:            **-***0831                                                                               Checking Acct #:                  ******0701
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:
For Period Beginning:             12/28/2017                                                                               Blanket bond (per case limit):     $13,092,422.00
For Period Ending:                2/7/2020                                                                                 Separate bond (if applicable):

       1                2                                3                                       4                                               5                6                       7

   Transaction       Check /                         Paid to/            Description of Transaction                         Uniform           Deposit       Disbursement               Balance
      Date            Ref. #                      Received From                                                            Tran Code            $                $


11/28/2018            (3)      HULA PROPERTIES, INC.              Good faith deposit on property: land on Bo. Lomas,        1110-000          $50,000.00                                  $50,000.00
                                                                  Juana Diaz.
11/30/2018            (3)      HULA PROPERTIES INC                AMENDED NOTICE OF PUBLIC SALE OF                          1110-000        $505,000.00                                  $555,000.00
                                                                  ESTATE’S INTEREST IN
                                                                  INDUSTRIAL/COMMERCIAL PROPERTY DKT
                                                                  NO.74.
12/01/2018            101      CRIM                               Correct amount owed for Cataster No.                      4700-000                              $10,722.22             $544,277.78
                                                                  366-019-108-07-000 is $10,722.22 for the years, 2016,
                                                                  2017, 2018 and first Semester 2019. Paid per amended
                                                                  Notice of Sale.
01/07/2019            102      NOEMI LANDRAU-RIVERA Former        Application for Compensation for NOEMI LANDRAU            3210-000                                  $5,550.00          $538,727.78
                               Trustee                            RIVERA. Dkt. No. 97.
                                                                  ORDER Granting Application for Compensation. Dkt.
                                                                  No. 114
01/07/2019            103      MARIO MUNIZ                        Application for Compensation for MARIO MUNIZ.             3510-000                              $14,000.00             $524,727.78
                                                                  Dkt. 100. ORDER Granting Application for
                                                                  Compensation. Docket 115.
01/21/2019            104      SECRETARIO DE HACIENDA             XX-XXXXXXX Tax Return 11/30/2018. Per court order Dkt.    2820-000                              $36,709.00             $488,018.78
                                                                  Nos.: 109 and 118
03/11/2019            105      Tamarez CPA. LLC                   Application for Compensation for ALBERT                   3410-000                                  $1,500.00          $486,518.78
                                                                  TAMAREZ VASQUEZ. docket 121. Approved Dkt.
                                                                  No. 136.
03/11/2019            106      TAMAREZ CPA, LLC                   Application for Compensation for ALBERT                   3420-000                                    $93.50           $486,425.28
                                                                  TAMAREZ VASQUEZ. docket 121. Approved Dkt.
                                                                  No. 136.
03/20/2019            107      NOEMI LANDRAU-RIVERA Former        Application for Compensation for NOEMI LANDRAU            3210-000                              $14,035.00             $472,390.28
                               Trustee                            RIVERA. Docket 132
                                                                  ORDER Granting Application for Compensation. Docket
                                                                  143




                                                                                                                           SUBTOTALS          $555,000.00         $82,609.72
                                      Case:17-07507-EAG7 Doc#:178 Filed:03/04/20
                                                                         FORM 2 Entered:03/04/20 16:10:57                                      Desc: Main
                                                                                                                                                     Page No: 2                  Exhibit 9
                                                                Document Page 11 of 15
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         17-07507-EAG                                                                             Trustee Name:                      Noreen Wiscovitch-Rentas
 Case Name:                       Santiago Gonzalez, Victoria                                                              Bank Name:                         Veritex Community Bank
Primary Taxpayer ID #:            **-***0831                                                                               Checking Acct #:                  ******0701
Co-Debtor Taxpayer ID #:                                                                                                   Account Title:
For Period Beginning:             12/28/2017                                                                               Blanket bond (per case limit):     $13,092,422.00
For Period Ending:                2/7/2020                                                                                 Separate bond (if applicable):

       1                2                                   3                                    4                                              5                 6                       7

   Transaction       Check /                         Paid to/            Description of Transaction                         Uniform           Deposit       Disbursement              Balance
      Date            Ref. #                      Received From                                                            Tran Code            $                $


03/20/2019            107      VOID: NOEMI LANDRAU-RIVERA         Application for Compensation for NOEMI LANDRAU            3210-003                              ($14,035.00)           $486,425.28
                               Former Trustee                     RIVERA. Docket 132
                                                                  ORDER Granting Application for Compensation. Docket
                                                                  143
03/20/2019            108      NOEMI LANDRAU-RIVERA               Application for Compensation for NOEMI LANDRAU            3210-000                               $14,035.00            $472,390.28
                                                                  RIVERA. Docket 132
                                                                  ORDER Granting Application for Compensation. Docket
                                                                  143
03/20/2019            109      NOEMI LANDRAU-RIVERA               Application for Compensation for NOEMI LANDRAU            3220-000                                  $111.35            $472,278.93
                                                                  RIVERA. Docket 132
                                                                  ORDER Granting Application for Compensation. Docket
                                                                  143
04/15/2019            110      Eduardo R. Vargas Santiago         Amended Motion to pay participation in community          8500-002                              $179,340.19            $292,938.74
                                                                  property sold by the Trustee. Dkt. No. 142. Approved
                                                                  Dkt. No. 148
07/17/2019            110      STOP PAYMENT: Eduardo R. Vargas    Stop Payment for Check# 110                               8500-002                           ($179,340.19)             $472,278.93
                               Santiago
07/17/2019            111      CLERK, U.S. BANKRUPTCY COURT       Unclaimed Funds                                           8500-002                              $179,340.19            $292,938.74
10/30/2019            112      Noreen Wiscovitch-Rentas           Trustee Compensation                                      2100-000                               $17,220.10            $275,718.64
10/30/2019            113      CLERK OF THE COURT                 Account Number: ; Claim #: ; Amount Claimed: 350.00;      2700-000                                  $350.00            $275,368.64
                                                                  Distribution Dividend: 100.00; Amount Allowed: 350.00;
                                                                  Dividend: 0.11; Notes:
                                                                  Filing fees for Adversary case 18-00074 against
                                                                  EDGARDO R VARGAS SANTIAGO. docket 44. Fees
                                                                  waived until there are funds in
10/30/2019            114      NOREEN WISCOVITCH-RENTAS           Trustee Expenses                                          2200-000                                  $298.40            $275,070.24




                                                                                                                           SUBTOTALS                $0.00       $197,320.04
                                      Case:17-07507-EAG7 Doc#:178 Filed:03/04/20
                                                                         FORM 2 Entered:03/04/20 16:10:57                                               Desc: Main
                                                                                                                                                              Page No: 3                 Exhibit 9
                                                                Document Page 12 of 15
                                                                 CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                        17-07507-EAG                                                                                       Trustee Name:                      Noreen Wiscovitch-Rentas
 Case Name:                      Santiago Gonzalez, Victoria                                                                        Bank Name:                         Veritex Community Bank
Primary Taxpayer ID #:           **-***0831                                                                                         Checking Acct #:                  ******0701
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:            12/28/2017                                                                                         Blanket bond (per case limit):     $13,092,422.00
For Period Ending:               2/7/2020                                                                                           Separate bond (if applicable):

       1                2                               3                                           4                                                    5                 6                       7

   Transaction       Check /                        Paid to/                Description of Transaction                               Uniform           Deposit       Disbursement             Balance
      Date            Ref. #                     Received From                                                                      Tran Code            $                $


10/30/2019            115      CRIM                              Account Number: ; Claim #: ; Amount Claimed:                           *                                      $174.75            $274,895.49
                                                                 10,722.22; Distribution Dividend: 100.00; Amount
                                                                 Allowed: 10,722.22; Dividend: 0.05; Notes: (5-1) REAL
                                                                 PROPERTY TAXES
                                                                 Correct amount owed for Cataster No.
                                                                 366-019-108-07-000 is $10,722.22 for the years, 2016, 2
                                                                 Interest                                              $(174.75)     7990-000                                                     $274,895.49
10/30/2019            116      VICTORIA SANTIAGO GONZALEZ        Account Number: ; Claim #: ; Amount Claimed:                        8200-002                               $96,257.79            $178,637.70
                                                                 96,257.79; Distribution Dividend: 100.00; Amount
                                                                 Allowed: 96,257.79; Dividend: 32.85; Notes: Debtor
                                                                 Surplus;
10/30/2019            117      IVELISSE TORO ZAMBRANA            Account Number: ; Claim #: 1; Amount Claimed:                          *                                   $30,927.25            $147,710.45
                                                                 30,000.00; Distribution Dividend: 100.00; Amount
                                                                 Allowed: 30,000.00; Dividend: 10.55; Notes: (1-1)
                                                                 LEGAL FEES PAYMENT(1-2) LEGAL FEES
                                                                 PAYMENT-
                                                                 This claim was stipulated to be $30,000. Its a
                                                                 preventive lien p
                                                                 Claim Amount                                      $(30,000.00)      7100-000                                                     $147,710.45
                                                                 Interest                                              $(927.25)     7990-000                                                     $147,710.45
10/30/2019            118      SCOTIABANK DE PUERTO RICO         Account Number: ; Claim #: 4; Amount Claimed:                          *                                  $108,500.57             $39,209.88
                                                                 105,247.53; Distribution Dividend: 100.00; Amount
                                                                 Allowed: 105,247.53; Dividend: 37.03; Notes: (4-1)
                                                                 Commercial Loan;
                                                                 Claim Amount                                     $(105,247.53)      7100-000                                                      $39,209.88
                                                                 Interest                                             $(3,253.04)    7990-000                                                      $39,209.88




                                                                                                                                    SUBTOTALS                $0.00       $235,860.36
                                      Case:17-07507-EAG7 Doc#:178 Filed:03/04/20
                                                                         FORM 2 Entered:03/04/20 16:10:57                                                Desc: Main
                                                                                                                                                               Page No: 4                   Exhibit 9
                                                                Document Page 13 of 15
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         17-07507-EAG                                                                                       Trustee Name:                      Noreen Wiscovitch-Rentas
 Case Name:                       Santiago Gonzalez, Victoria                                                                        Bank Name:                         Veritex Community Bank
Primary Taxpayer ID #:            **-***0831                                                                                         Checking Acct #:                  ******0701
Co-Debtor Taxpayer ID #:                                                                                                             Account Title:
For Period Beginning:             12/28/2017                                                                                         Blanket bond (per case limit):     $13,092,422.00
For Period Ending:                2/7/2020                                                                                           Separate bond (if applicable):

       1                2                                   3                                        4                                                    5                 6                       7

   Transaction       Check /                         Paid to/                Description of Transaction                               Uniform           Deposit       Disbursement               Balance
      Date            Ref. #                      Received From                                                                      Tran Code            $                $


10/30/2019            119      CRIM                               Account Number: ; Claim #: 5; Amount Claimed:                          *                                  $12,593.84              $26,616.04
                                                                  12,216.25; Distribution Dividend: 100.00; Amount
                                                                  Allowed: 12,216.25; Dividend: 4.29; Notes: (5-1) REAL
                                                                  PROPERTY TAXES
                                                                  In the claim there is Cataster no. 024-063-630-17-000
                                                                  (realty in Aguadilla, which the Trust
                                                                  Claim Amount                                        $(12,216.25)    4700-000                                                      $26,616.04
                                                                  Interest                                              $(377.59)     7990-000                                                      $26,616.04
10/30/2019            120      CRIM                               Account Number: ; Claim #: 5; Amount Claimed:                          *                                      $8,938.68           $17,677.36
                                                                  8,670.68; Distribution Dividend: 100.00; Amount
                                                                  Allowed: 8,670.68; Dividend: 3.05; Notes: (5-1) REAL
                                                                  PROPERTY TAXES


                                                                  Unsecured portion of Cataster No. 024-063-630-17-000
                                                                  $956.46
                                                                  Unsecured portion of Cataster
                                                                  Claim Amount                                      $(8,670.68)       7100-000                                                      $17,677.36
                                                                  Interest                                              $(268.00)     7990-000                                                      $17,677.36
10/30/2019            121      Edgardo R. Vargas Santiago         Account Number: ; Claim #: 6; Amount Claimed:                          *                                  $17,677.36                     $0.00
                                                                  17,147.36; Distribution Dividend: 100.00; Amount
                                                                  Allowed: 17,147.36; Dividend: 6.03; Notes: Payment of
                                                                  Claims Nos. 2 and 3.;
                                                                  Claim Amount                                     $(17,147.36)       7200-000                                                             $0.00
                                                                  Interest                                              $(530.00)     7990-000                                                             $0.00
01/28/2020            117      STOP PAYMENT: IVELISSE TORO        Stop Payment for Check# 117                                            *                                  ($30,927.25)            $30,927.25
                               ZAMBRANA
                                                                  Claim Amount                                        $30,000.00      7100-004                                                      $30,927.25
                                                                  Interest                                               $927.25      7990-004                                                      $30,927.25




                                                                                                                                     SUBTOTALS                $0.00             $8,282.63
                                     Case:17-07507-EAG7 Doc#:178 Filed:03/04/20
                                                                        FORM 2 Entered:03/04/20 16:10:57                                                  Desc: Main
                                                                                                                                                                Page No: 5                 Exhibit 9
                                                               Document Page 14 of 15
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
 Case No.                         17-07507-EAG                                                                                      Trustee Name:                         Noreen Wiscovitch-Rentas
 Case Name:                       Santiago Gonzalez, Victoria                                                                       Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:            **-***0831                                                                                        Checking Acct #:                      ******0701
Co-Debtor Taxpayer ID #:                                                                                                            Account Title:
For Period Beginning:             12/28/2017                                                                                        Blanket bond (per case limit):        $13,092,422.00
For Period Ending:                2/7/2020                                                                                          Separate bond (if applicable):

       1                2                                3                                           4                                                     5                  6                      7

   Transaction       Check /                         Paid to/                Description of Transaction                              Uniform           Deposit          Disbursement            Balance
      Date            Ref. #                      Received From                                                                     Tran Code            $                   $


01/28/2020            122      IVELISSE TORO ZAMBRANA             Account Number: ; Claim #: 1; Amount Claimed:                          *                                    $30,927.25                  $0.00
                                                                  30,000.00; Distribution Dividend: 100.00; Amount
                                                                  Allowed: 30,000.00; Dividend: 10.55; Notes: (1-1)
                                                                  LEGAL FEES PAYMENT(1-2) LEGAL FEES
                                                                  PAYMENT-
                                                                  This claim was stipulated to be $30,000. Its a
                                                                  preventive lien p
                                                                  Claim Amount                                      $(30,000.00)     7100-000                                                             $0.00
                                                                  Interest                                             $(927.25)     7990-000                                                             $0.00

                                                                                       TOTALS:                                                         $555,000.00           $555,000.00                  $0.00
                                                                                           Less: Bank transfers/CDs                                          $0.00                 $0.00
                                                                                       Subtotal                                                        $555,000.00           $555,000.00
                                                                                           Less: Payments to debtors                                         $0.00            $96,257.79
                                                                                       Net                                                             $555,000.00           $458,742.21



                     For the period of 12/28/2017 to 2/7/2020                                                    For the entire history of the account between 11/28/2018 to 2/7/2020

                     Total Compensable Receipts:                  $555,000.00                                    Total Compensable Receipts:                               $555,000.00
                     Total Non-Compensable Receipts:                    $0.00                                    Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                $555,000.00                                    Total Comp/Non Comp Receipts:                             $555,000.00
                     Total Internal/Transfer Receipts:                  $0.00                                    Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:             $279,402.02                                    Total Compensable Disbursements:                          $279,402.02
                     Total Non-Compensable Disbursements:         $275,597.98                                    Total Non-Compensable Disbursements:                      $275,597.98
                     Total Comp/Non Comp Disbursements:           $555,000.00                                    Total Comp/Non Comp Disbursements:                        $555,000.00
                     Total Internal/Transfer Disbursements:             $0.00                                    Total Internal/Transfer Disbursements:                          $0.00
                                     Case:17-07507-EAG7 Doc#:178 Filed:03/04/20
                                                                        FORM 2 Entered:03/04/20 16:10:57                                       Desc: Main
                                                                                                                                                     Page No: 6                 Exhibit 9
                                                               Document Page 15 of 15
                                                                  CASH RECEIPTS AND DISBURSEMENTS RECORD
Case No.                         17-07507-EAG                                                                            Trustee Name:                         Noreen Wiscovitch-Rentas
Case Name:                       Santiago Gonzalez, Victoria                                                             Bank Name:                            Veritex Community Bank
Primary Taxpayer ID #:           **-***0831                                                                              Checking Acct #:                      ******0701
Co-Debtor Taxpayer ID #:                                                                                                 Account Title:
For Period Beginning:            12/28/2017                                                                              Blanket bond (per case limit):        $13,092,422.00
For Period Ending:               2/7/2020                                                                                Separate bond (if applicable):

      1                 2                                3                                       4                                              5                  6                      7

  Transaction        Check /                         Paid to/            Description of Transaction                       Uniform           Deposit          Disbursement            Balance
     Date             Ref. #                      Received From                                                          Tran Code            $                   $




                                                                                                                                                                       NET             ACCOUNT
                                                                                   TOTAL - ALL ACCOUNTS                           NET DEPOSITS                    DISBURSE            BALANCES

                                                                                                                                          $555,000.00           $555,000.00                    $0.00




                     For the period of 12/28/2017 to 2/7/2020                                         For the entire history of the case between 12/28/2017 to 2/7/2020

                     Total Compensable Receipts:                  $555,000.00                         Total Compensable Receipts:                               $555,000.00
                     Total Non-Compensable Receipts:                    $0.00                         Total Non-Compensable Receipts:                                 $0.00
                     Total Comp/Non Comp Receipts:                $555,000.00                         Total Comp/Non Comp Receipts:                             $555,000.00
                     Total Internal/Transfer Receipts:                  $0.00                         Total Internal/Transfer Receipts:                               $0.00


                     Total Compensable Disbursements:             $279,402.02                         Total Compensable Disbursements:                          $279,402.02
                     Total Non-Compensable Disbursements:         $275,597.98                         Total Non-Compensable Disbursements:                      $275,597.98
                     Total Comp/Non Comp Disbursements:           $555,000.00                         Total Comp/Non Comp Disbursements:                        $555,000.00
                     Total Internal/Transfer Disbursements:             $0.00                         Total Internal/Transfer Disbursements:                          $0.00




                                                                                                                      /s/ NOREEN WISCOVITCH-RENTAS
                                                                                                                      NOREEN WISCOVITCH-RENTAS
